      Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 1 of 32



                 United States District Court in Maryland.

Lawrence V. Wilder
P.O. Box 47310
Windsor Mills, Maryland 21244                                              CCB890V1734
V                                                     Civil Case        JILED-      ENTERED
                                                                  ---LOOGED-        RE.CENED
Toyota Motor Credit Corporation                                   ---'
19001 South Western Avenue                                              JUN 2 (3 2009
Torrance, California 90509

Unknown agents

                       Complaint and Motion to Appoint Counsel

Plaintiff files the complaint for violations of the Fair credit Reporting Act and Fair Debt
Collections Reporting Act and Bevins constitutional violation claim.

The plaintiff requests appointment of counsel.

The plaintiff requests a hearing.

The defendant violated the FCRA and FDCA after the plaintiff satisfied the debt and was
sent a letter of credit satisfaction. The plaintiff provides the Toyota Headquarters letter
dated 9/21/1995 and Equifax credit report investigations years later which show the
satisfied account as a charge account.

The letter is also a President Ronald Reagan and Supreme Court Justice Thurgood
Marshall pardon letter. This letter must never get disrespected.

The plaintiffs credit suffered because of the intentional acts by the defendant. His
creditability at his Federal employer was damaged, unfavorable credit terms caused him
to spend thousands more than if the charge offwas not being reported, the error caused
the plaintiff to file for bankruptcy in 2003.                 r


The plaintiff seeks $ 20,000,000, for the intentional violations of his rights. The damages
include punitive damages.                                                 /"'"
                                                          ~.--~-"._.                           __ .._ .."""._--   '.


                                                             '"

                                                              Lawrence Wilder
Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 2 of 32
!,;.
                    Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 3 of 32




              Hardship Consideration and Good Cause Filing Waiver
                                  I!Q),                           -

             Plaintiff was removed from Federal Service from the Department of Health and Human Services,
             Centers for Medicare and Medicaid Studies on May 6, 1997 for alleged unprofessional contact
             and insubordination. On April 9, 1998, plaintiff was approved for psychiatric disability
             retirement by the Office of Personnel Management retroactive to May 7, 1997. It is logical to
             accept the opinion that the mental disability manifested in my behavior prior to MaY7, 1997.
             One doesn't wake up and becom~ psychiatric disabled. A progression from stressful stimuli
            gradually resulted in my mental illness. This progression was observed and mentioned by
            various management officials at the Department erior to my removal. The Associate
            Administrator for Management Steve Pelovitz, Micheal McMullan, Bureau Director Regina
            McPhillips, Office Director Robe~t Moore, Division Director Joe Hladaky, Branch Chief Fran~is
            Jones,Jr and Branch Chief Winston Edwards had the perception of possible mental health'

                                                                  -
          , decline. When Francis Jones proposed my removal from'Federal service (March 4, 1997) and

           Dr. Regina McPhillips approved the removal from service (May6, 1997), they violated 5 C.F.R.
          844.404 and~ C.F.R. 844.202, which obligated the Department to help employees, who are
          facing removal with suspected.mental illness, complete applications for benefits for them, citing
          there mental vulnerability.

           The Department failed to provide the correct notice to a vulnerable employee to appeal the
           removal. The location of MSPB office to appeal the removal decision (1997) wa? given as Falls
          Church, Virginia. Today the MSPB office to appeal is in Philadelphia', Pennsylvania. The
          Department's notification of appeal rights was confusing, incorrect, and ambiguous to an
          employee who they believed was suffering from a mental disability while subjecting him to
          removal from Federal service adverse action (5 C.F.R. 844.202). The Department had the duty
         to provide appeal rights that were not incorrect or ambiguous. When the Department provided
         appeal-rights that were ambiguous or incorrect, they had the responsibility to correct the
         erroneous information and notify the mentally disabled employee being removed from Federal
         service. This responsibility was breach by not providing the corrected appeal rights.

          By neglecting the duty to provide the correct or unambiguous appeal rights, my time to appeal,
          (considering my OPM certified psychiatric disability, the Department's knowledge of possible
         mental disability, and no legal representation) my time to appeal the wrongful removal is tolled.
         The Department is also guilty of failing to offer reasonable accommodation and intentionally
         failing to consider Douglas factors and Metz factors before and after the OPM application
         process and the approval of OPM-psychiatric disability retirement (effective date May 7, 1997).
        The plaintiff has participated in mental health care since 1997. The Department has also
        viohited 5 C.F.R. 844.202 by failing to disclose ahd help me with applying fDr various benefits as
        an employee perceived with a psychiatric disability. Thisviolation should enable me to toll the
        time to apply and compel the Department's participation .

       . From April 9, 1998 (0PM psychiatric disability retirement approval date retroactive to May 7,
         1997), no court or administrative board (U.S. Federal, EEOC, 'or MSPB) acknowledged the
         decision to approve psychiatric retirement until MSPB Northeastern Regional AU Lystra Harris
         applied the French factors appropriate for a MSPB appellant who has experienced a psychiatric
        ~
        •..        Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 4 of 32



       disorder (see ,lttc;ched decision dated 8/6/2008). The concern was previously included in an
       opinion by U.S. District Court of Maryland .Judge Frederick Nelson Smalkins during the latter
       1990S, The Judge noticed the onset of a psychiatric disability, (without approving court-
       appointed counsel) but my accusations were true not delusional.

       DHHS management, DHHS Office of General Counsel, DHHS Equal Employment Opportunity
       offices, and the Equal Employee Opportunity Commission, participated and insisted to proceed
       in the investigation, adjudication, and final determination of my claims of discrimination,
      prohibited personnel practice, and reprisal, while the DHHS and the EEOC kn~w of my
      psychiatric disability (this sadistic ,unconstitutional, and racist treatment was a result of the
      Nassau County, New York trial of Colin Ferguson, although I was innocent). This denial is still
      presently illustrated by the Equal employment Opportunity Commission and DHHS in agency
      decision. letters.

      The EEOC Baltimore Field office and DHHS, OS, BHRC, still refused to accept the fact that
      holding a psychiatric disabled employee to decisions reached without the help of counsel is         •
      consistent with the Congressional intent to protect employees rights to present claims of
      discriminatiOIi., prohibited personnel practice, reprisal investigated and decided without fraud,
     intimidation, retaliation, discrimination, and obstruction. The Department decision letter dated
     10/3/2008 and prepared by Jacqueline Taylor, DHHS, OS, BHRC was mailed with no appeal
     rights attached. This is a continuing violation with DHHS, Office of the Secretary and the MSPB.
     DHHS, OS, EEO office employee Christine Smith has continuously failed to provide complete
     and accurate appeal rights to a person who is knows is retired because of mental disability.

   The MSPB has determined that appellant's who were force to proceed without representation of
  counsel and suffered from a mental disability, did not get a fair adjudication of their appeals by
 the Board and the Administrative Law Judge. I feel the EEOC, DHHS, and the Federal Courts
 would concur with these decisions. My attempts to retain counsel resulted in 20 requests of
 retainers ranging from $ 3,000 to

 $ 10,000, denials because of difficulty, denials because of licensing to practice, or unreturned
 phone calls (2).

 Beginning in early 2006, I experienced several emotional traumatic situations that I believe are
a result of my involvement in Equal Employment Opportunity Commission proceedings at
NASA, DHHS, SSA, OPM, EEOC, and DOL. I believe current and former employees are
involved and attempting to cause injury and harm to stop me from learning the truth of the
wrong doing inflicted upon me and to hurt my opportunity with my emploYment efforts .•

In   2007,    I was targeted because I help vulnerable adults.

In 2008, was a victim of two illegal evictions, one in Baltimore County, and one in Baltimore
City. I was discriminated against because of psychiatric disability.
     200
In       7, I was the victim of eight home invasions (with assault) and hate crimes.
               Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 5 of 32



      In 2008, I was falsely imprisoned from 1/14/2008.- 2/19/2008 because of a domestic crime I
     didn't commit. I was given a $ 100,000 bail for a 1st offense contempt of COUItorder violation
     charge There was no violation, because I was never served the order or appeared in court to
     defend myself. I was falsely accused of a serious Federal crime (thre~tening a Federal judge) and
     a victim of a railed frame-up attempt. I.was determined innocent without a subsequent apology
    for the mIse accusation or the decency to inform others of the seriously injurious mistake. The
    threatening of a Federal judge false accusation by AJ Elizabeth Milligan has made me very
    paranoid when contacting the MSPB NER office after the DHS agents visited my residence. A
    couple in MaryJaud was falsely accused of bank robbery and shot in the face by Federal agents
    acting on false information.

   As a result of tl1e false accusation of a serious Federal crime my residence was raided by U.s.
   DHS agents (one Agent Maurice Graham, who was intentionally attempting to intimidate me
   from participation in the EEO complaint process.

   I experienced racial profile traffic stops in Maryland and Virginia where I was denied my right to
   appear in court and appeal the charges (the court dates were scheduled on the exact same day
   May 7, 2008). Law Enforcement committedpeljury to get a wrongful conviction.

    I was falsely accused of a domestic violation in New Jersey when I unknowingly contacted a
   former friend after ten years of contact on my part (she intentionally travelled at least 30 times
   in 10 years to violate the order). I was interpreting the order according t? State of Maryland
   laws (and her actions). Actually, I was never charged with a crime against her {she was charged
   with assault against me). The domestic order she was granted (the Judge provided for mutual
   enforceability) was obtained by peljUIY and her access to counsel. She has knowing violated the
  order Oi1 multiple occasions, yet she was never held responsible for her actions. The court order
  was illegally obtained to prevent illegal eviction liability of a rion-violent psychiatric disabled
  tenant. The unintentional misdemeanor 1st offense was given a felonylabel and I was given a no
 bail bond. My SSA disability was suspended because of the felony label for nine months
 (9/2007 - 6/2008). This caused major financial, personal, and professional hardship from the
 false accusation, abuse of process, and wrongful conviction.

 After being falsely accused of a 1st offense domestic order violation, (after the alleged victim
 committed multiple acts of perjury including accusing me an unbelievable 100 domestic
 criminal counts) State of Maryland District Court Judge Barbara Jung issued a warrant for my
arrest for committing 100 criminal domestic crimes. I was never served the order or able to
defend myself in court. At my bail review, I was given a $ 100,000 bail by State of Maryland
District Court Judge Nancy Purpora for a 1st offense misdemeanor contempt offense. The same
court gave a repeat: offender pedophile school teacher school teacher, who was accused of raping
a 14 year old girl, while photographing her a $ 50,000 bail.

 While incarcerated at the Baltimore County Detention Center from 1/14/2008 -2/19/2008,       I
was subjected to mental disability discrimination by correctional officers. L was assaulted,
confined to lockdmyn 24 hours a day, and placed in the suicide observation cell, because 1
requested medication for depression (1 ilever stated that I was trying to hurt myself). I was
retaliated against because 1was attempting to get medical attention for a juvenile inmate who
              Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 6 of 32



     didn't have a bowel movement in 9 days (at least at the time of my release). After I was found
     not guilty of all charges and released, I learned that I was illegally evicted and ho.meless. Several
     of my personal belongs were stolen as a result of the illegal eviction.

     My hardship is demonstrated by the State of Maryland obstructionist behavior to help with a
     DNA paternity test.                                         c'




    The State of Marylan~ is guilty of committing the violation of double jeopardy (I actually call it
    centennial jeopardy), by attempting to hold false accusations, not guilty charges, and wrongful
    convictions against me. I requested employment applications from the State of Maryland. The
    only applications were from the State Police fingerprinting background check division and the
    State lottery (signed by a Mr. Simpson).

    When I attempted to inquire about a lawyer referrals at the University of Maryland Law Library
    (a place I am entitled to visit, because of my University of Maryland system Alumni
   qualifications), I was subjected to search and barred from the buildint My multiple prior visits
   to the library were v.rithout incident. I strongly believe this was retaliation by Maryland alumni
   (or faculty) involved in my discrimination claims. I was discriminated because of disability.

   r am being retaliated against by law enforcement because of complaints filed with the U.S. DOJ.
   They have been very vocal with my involvement to stop the harassment.

 , I am presently a victim of community stalking and hate crimes at my present residence located
   at 9 Rambling Oaks Way, Apt. H, Catonsville, Maryland 21228. I reported tJ-ieincidents to the
   rental management, local police, and HUD, yet the violations continue.

  The women who filed the false domestic charges against me have directly (and by proxy) stalked,
  attempted to intimidate, and assault me.

 I filed charges against the women for stalking, domestic violence, arson threat, filing a false
 police report, verbal threats, and poisoning. The Maryland and New Jersey States Attorney
 offices decline to prosecute in all cases, yet issued warrants for my arrest when they filed
 complaints for less severe crimes (including a violatiOn of an unenforceable court order).

 When I tried to file a complaint of multiple violations of a permanent New Jersey restraining
 order from 1998 - 2008, I was denied. When I was accused of non-threatening verbal contact, I
 was fully prosecuted by Union County, New Jersey. I have never been charged with any crime
 against this woman.

  I was involuntary committed to Northwest and Sinai Hospital Mount Pleasant One in
  Randallstown and Baltimore, Maryland from 4/2/2008 (my anniversary date of constructive
 resignation from NASA Goddard Space Flight Center) through Apri124, 2008, by order of the
 State 'of Maryland District Court in Towson, because of perjury and to force an illegal eviction
 (the State of Maryland District Court was never involved in any eviction proceeding, only used Lo
violate my right to defend). This_commitment order was approved because of accusations of
threatening my parents (this accusation occurred only months after the false Federal
accusation). My mother, who I was alleged to have threatened, stated to the doctors (Dr John



                                                                                                             i
                                                                                                             j
              Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 7 of 32


      MacDonald, Sinai Hospital) and social workers that there was never no threat and r was never
      threatening to her. The staff at Sinai hospital ignored her defense of me and held me for 22 days   "".'
      until r contacted an attw-ney. The staff also tortured, abused, and discriminated against me.
     After contacting the attorney, r was released the next day. r also suspect the Department of
     Health and Human Services, Centers for Medicare and Medicaid Studies because of involvement
     in a di~crimination complaint.

     The D'epartment has sabotaged (with willing physicians) my access and mental health treatment,
     since r was removed from Federal Service and approved for Office of Personnel Management
     psychiatric disaoility retirement. r was given pharmacy scraps as wi11ingphysicians prescribe
     medicine under political pressure by the Depaitm ..•
                                                        ent of Health'and Human Services, Centers for
     Medicare and Medicaid Studies. I was limited to no Part B insurance, because of an error by
     DHHS and SSA who neglected to deduct my premiums during open Season enrollment. The
     Department (by way of employees, present and former) have stalked me, since I began seeking
    justice as a result of my wrongful discharge and civil and constitutional violations. After being
    removed from Federal service and approval for OPM psychiatric disability retirement (5/ /1997
                                                                                                6
    and 4/9/1998, respectfully), the Department h~s intentionally obstructed my treatment goals,
   by getting \villing doctors to prolong my healing, vocational rehabilitation, and limiting my
   options to let time expire to apply for benefits and appeal administrative deCisions. The
   Department used political pressure to cause legal and financial problems. I believe the
   Department was responsible for assaults and injuries I sustained. An example of this was
   demonstrated when I sought help after sustaining a visible burn~ injury to my

  genitals during a domestic violence assault. Dr. Gerald Ze11ingeraridDr. Janet Soeffering were
  summoned to give a statement of my injuries at the domestic violence assault court date.
  Neither responded and the batterer charges were dismissed. I later discO\;ered that Dr.
  Zellinger's employer was listed on the State of Maryland physician license verification website as
  7500 Security Boulevard, Woodlawn, Maryland 21244 (my former emplo)rer) .

 .I have also been the victim of hate stalking at the University of Maryland, Baltimore County (the
  school I that I graduated).

  I also began attempting to secure anew trial of an old criminal case in Howard County,
  Maryland (because of the State and Federal jeopardy violations) because of representation of
  counsel who was practicing outside the ethical boundaries of a member of the Bar. My counsel
 was indicted, disbarred, and served a Federal prison sentence. Law enforcehlent and the courts
 are presently harassing, intimidating, attacking, and assaulting me for pursuing this manifest
 injustice. The State and Federal CQurts are guilty of practicing centennial jeopardy using unjust
 misdemeanor convictions from the Reagan and Persian Gulf war era.

 Iam attempting to secure a new trial of convictions in North Carolina from Police and
 prosecutorial misconduct. The courts in North Carolina are in denial of the racially charged
 p.nvironment and police misconduct (e.g. planted evidence, warrantless searches, GovernII!ent
'intimidation and interference of counsel) that lend reasonable doubt to any conviction reached.

I currently experienced harassment fTom local law enforcement because of efforts to approve a
not guilty reversal decision because of fraud, law enforcement misconduct, ineffective counsel,
    ,"        Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 8 of 32


    . prosecutor misconduct, failure to consider my disability, non-diverse court representation
      (every participant in court was Caucasian), and linking my case with a capital punishment case.
      The officers lied about an odor of alcohol and marijuana in my vehicle, attempted to order me to
     the exact crime scene of the capital crime, then committing perjury by testifying in court that I
     attempted to run them over with my vehicle when they were behind the car. I was a vulnerable .
                                                                       c
     adult and couldn't comprehend what was truly happening. My physicians were never contacted
     and I believe may have had a role in the incident, because when I mentioned that I felt harassed
     by repeated racial profile traffic stops and violations, she discounted my feelings as delusional..
    My public defender ignored my statements and withheld the important fact that the instructions
    by the law enforcement officers were going to put me at the scene of the capital punishment
    offense. I strongly believe that everyone in the court knew this fact except for me and wrongfully
    convicted an innocent person.

    After being "vrongfully terminated and rights afforded to a psychiatric disabled employee, I
    experienced various unlawful law enforcement situations. Istrongly believe Government
    employees, law enforcement, and my former physicians are targeting me because of my Federal
    civil rights discrimination involvement, while being a vulnerable adult.

   In North Carolina (1998) , a policeman committed peljury to get a conviction against me. I
   appealed the conviction and the charges were dismissed after the officer admitted that he never
   witnessed the crimes he testified to in court.

   I was racially profiled stop in New Jersey, Maryland, North Carolina, and Virginia by police
   officers "vith the last name of Jones (the same name as my former Branch Chief at the
   Department of Health and Human Services).

  In Baltimore County, Maryland, I was charged and arrested "vith participating theft from a store.
  The charges were dismissed because I committed no crime.

  In Baltimore Cit}', another police officer with the last name of Jones entrapped and arrested me
  for the crime of unlawful possession and distribution of prescription drugs. I was foundnot
  guilty of the crime.

 In Baltimore City, I was arrested and assaulted by an Officer White be<.:auseof loitering while 1
 walked to meet with my attorney. I was found innocent of charges.

 In Baltimore City, I was arrested by an Officer Robinson while visiting a relative and charged
 orily with loitering. Officer Robinson made references to a EEOC case that I was involved in
 with the Department of Health and Human Services before he arrested me.



In Baltimore County was arrested for violating domestic a protective order that I was never
aware of or able to defend myself against in court. Officer Buttons (White Marsh precinct) was
responsible for service and failed to serve me with the order. The order was granted by the
woman responsible for domestic violence against me and was order to stay away from me.
When she lied (including statementsoflOo     harassing phone calls) and conspired with the court
                    Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 9 of 32


                                                                                .
          to get the order and arrest me, I was arrested at my residence when officers (Covington and
         Thompson) entered my bathroom while I was bathing and was held for 35 days in the Baltimore
         County Detention Centel:. She had already committed genital mutilation against me and was
         never held responsible. When I reported her crimes she was never prosecuted and I never able
         or notified to attend any court dates. She never informed the court of a housing diScrimination
         complaint as the reason for any contact.

      This year she has stalked and sent individuals to intimidate and assault me. While r was using
     the computers in the Highland neighborhood library, where she told the courts she stopped
     working, r was confronted by individuals and security. When r told them she informed the court
     that she stopped working in the neighborhood, so my presence there was in violation of
     anything and she had a responsibility to obey the order, not just me. r believe she was stalkirig
     me, because r didn't know how she knew r was at the Enoch Pratt Highland library:

     I reported a theft of my M & T Bank account and a possible fraudulent check she asked me to
     cash, because her established account at Bank of A_mericarefused to cash the check fTom Puerto
    Rico. She has knowledge of individuals who were found guilty of embezzlement and maybe
    guilty. She has conspired with law enforcement to violate my civil rights and to stop prosecution
    for her civil rights, stalking, theft, and domestic violence crimes. .

 My Social Security disability payments were suspended 9 months (9/2007 _ 6/2008) because of
 incorrect information of a wrongful conviction (greater than $ 13,000). This financial hardship
 occurred while I was illegally evicted from my residence (April _ May 2008), involuntary
committed to Sinai Hospital (after the false accusation of threatening myparents, ord<;r served
by Officer Jackson, Baltimore County Police) and homeless (April 2008 to July 2008) . I was
subjected to a brain scan while at Northwest hospital in Randallstown on April 2, 2008.

r wasthreaten to be shot in the back by Baltimore County police officer Dunning, while visiting
my son's school, because of attendance and to find his mother ,vho is in contempt of,a visitation

~.   b.e. /.e. V"g
o~.er since/.March               200;6.   i/I
                                          r   I   ,t
                                                   r,
                                                        /r -e. ...::::tJ/«(,'..
                                                                i/    {/            /7   r\
                                                                                         I
                                                                                              C
                                                                                             '_x
                                                                                                   ,7     .1
                                                                                                           ......--
                                                                                                        5 __ ./ ~.k.,.. (l -f -cy...o.(.J   na
-   jJ    01l rvl.e."   f    ()    5          f.!J '. /1"71/.
                                              ,;.                    1/1 C)
                                                                           __
                                                                            J       /7")
                                                                                             "k    .-
    L                       /}




                                                                                                                   Lawrence V. Wilder
          Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 10 of 32




           Federal Trade Commission
           Protecting America's Consumers

                                                    Email    PDF Format       En Espanol
 Facts for Consumers

Credit and Your Consumer Rights
A good credit rating is very important. Businesses inspect your credit history when they
evaluate your applications for credit, insurance, employment, and even leases. They
can use it when they choose to give or deny you credit or insurance, provided you
receive fair and equal treatment. Sometimes, things happen that can cause credit
problems: a temporary loss of income, an illness, even a computer error. Solving credit
problems may take time and patience, but it doesn't have to be an ordeal.

The Federal Trade Commission (FTC) enforces the credit laws that protect your right to
get, use and maintain credit. These laws do not guarantee that everyone will receive
credit. .Instead, the credit laws protect your rights by requiring businesses to give all
consumers a fair and equal opportunity to get credit and to resolve disputes over credit
errors. This brochure explains your rights under these laws and offers practical tips to
help you solve credit problems.

Your Credit Report
Your credit report contains information about where you live, how you pay your bills,
and whether you've been sued, arrested, or filed for bankruptcy. Consumer reporting
companies sell the information in your report to businesses that use it to evaluate your
applications for credit, insurance, employment, or renting a home.

The federal Fair Credit Reporting Act (FCRA) promotes the accuracy and
privacy of information in the files of the nation's consumer reporting companies. Under
the Fair Credit Reporting Act:

     - You have the right to receive a copy of your credit report. The copy of yowr report
       must contain all the information in your file at the time of your request.

            • Each of the nationwide consumer reporting companies - Equifax,
              Experian, and TransUnion - is required to provide you with a free copy of
              your credit report, at your request, once every 12 months. The companies
              are rolling this out across the country during a nine-month period. By
              September 2005, consumers from coast to coast will have access to a
              free annual credit report if they ask for it.. For details, see Your Access to
        Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 11 of 32



             Free Credit Reports at ftc.gov/credit.
           • Under federal law, you're also entitled toa free report if a company takes
             adverse action against you, like denying your application for credit,
             insurance, or employment, and you ask for your report within 60 days of
             receiving notice of the action. The notice will give you the name, address,
             and phone number of the consumer reporting company. You're also
             entitled to one free report a year if you're unemployed and plan to look for
             a job within 60 days; if you're on welfare; or if your report is inaccurate
             because of fraud, including identity theft .
           • Otherwise, a consumer reporting company may charge you up to $9.50 for
             another copy of your report within a 12-month period.

    - You have the right to know who asked for your report within the past year - two ...
      years for employment related requests.
    - If a company denies your application, you have the right to the name and
      address of the consumer reporting company they contacted, provided the denial
      was based on information given by the consumer reporting company.
    - If you question the accuracy or completeness of information in your report, you
      have the right to file a dispute with the consumer reporting company and the
      information provider (that is, the person, company, or organization that provided
      information about you to the consumer reporting company). Both the consumer
      reporting company and the information provider are obligated fO investigate your
      claim, and responsible for correcting inaccurate or ~ncomplete information in your
      report. For details, see How to Dispute Credit Report Errors at ftc.gov/credit.
    - You have a right to add a summary explanation to your credit report if your
      dispute is not resolved to your satisfaction. You also can ask the consumer
      reporting company to provide your statement to anyone who received a copy of
      your report in the recent past. You can expect to pay a fee for this service.

Your Credit Application
When creditors evaluate a credit application, they cannot engage in di.scriminatory
practices.

The Equal Credit Opportunity Act (ECOA) prohibits credit discrimination on the
basis of sex, race, marital status, religion, national origin, age, or receipt of public
assistance. Creditors may ask for this information (except religion) in certain situations,
but they may not use it to discriminate against you when deciding whether to grant you
credit.

The ECOA protects consumers who deal with companies that regularly extend credit,
including banks, small loan and finance companies, retail and department stores, credit
card companies, and credit unions. Everyone who participates in the decision to grant ~
credit, including real estate brokers who arrange financing, must follow this law.
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 12 of 32


Businesses applying for credit also are protected by this law. Under the Equal Credit
Opportunity Act:
                                                                                               ~.:



    - You cannot be denied credit based on your race, sex, marital status, religion,
      age, national origin, or receipt of public assistance.
    - You have the right to have reliable public assistance considered in the same
      manner as other income.
     - If you are denied credit, you have a legal right to know why.

For details, see Equal Credit Opportunity at ftc.gov/credit.

Your Credit Billing and Electronic Fund Transfer Statements

It is important to check credit billing and electronic fund transfer account statements
regularly because these documents may contain mistakes that could damage your
credit status or reflect improper charges or transfers. If you find an error or discrepancy,
notify the company and dispute the error immediately. The Fair Credit !Billing Act
(FCBA) and Electronic Fund Transfer Act (EFTA) establish procedures for
resolving mistakes on credit billing and electronic fund transfer account statements,
including:

     - charges or electronic fund transfers that you - or anyone you have authorized to
       use your account - have not made;                       _•
     - charges or electronic fund transfers that are incorrectly identified or show the
       wrong date or amount;
     •• math errors;
     - failure to post payments, credits, or electronic fund transfers properly;
     - failure to send bills to your current address - provided the creditor receives your
       change of address, in writing, at least 20 days before the billing period ends;
     - charges or electronic fund transfers for which you ask for an explanation or
       written proof of purchase along with a claimed errOl' or request for clarification.

The FCBA generally applies only to "open end" credit accounts - credit cards and
revolving charge accounts, like department store accounts. It does not apply to loans or
credit sales that are paid acco(ding to a fixed schedule until the entire amount is paid
bac~, like an automobile loan. The EFTA applies to electronic fund transfers, like those
involving automatic teller machines (ATMs), point-of-sale debit transactions, and other
electronic banking transactions.

For details, see Fair Credit Billing and A Consumer's Guide to E-Payments at
ftc. gov Icred it.

Your Debts and Debt Collectors
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 13 of 32




You are responsible for your debts. If you fall behind in paying your creditors, or if an
error is made on your account, you may be contacted by a "debt collector." A debt
collector is any person, other than the creditor, who regularly collects debts owed to
others, including lawyers who collect debts on a regular basis. You have the right to be
treated fairly by debt collectors.

The Fair Debt Collection Practices Act (FDCPA) applies to personal, family, and
household debts. This includes money you owe for the purchase of a car, for medical
care, or for charge accounts. The FDCPA prohibits debt collectors from engaging in
unfair, deceptive, or abusive practices while collecting these debts. Under the Fair Debt
Collection Practices Act:

     - Debt collectors may contact you only between 8 a.m. and 9 p.m.
     - Debt collectors may not contact you at work if they know your employer
       disapproves.
     - Debt collectors may not harass, oppress, or abuse you.
   , - Debt collectors may not lie when collecting debts, such as falsely implying that
       you have committed a crime.
     - Debt collectors must identify themselves to you on the phone.
     - Debt collectors must stop contacting you if you ask them to do so in writing.

For details, see Fair Debt Collection at ftc.gov/credit.

Solving Your Credit Problems
Your credit report can influence your purchasing power, as well as your opportunity to
get a job, rent or buy an apartment or a house, and buy insurance. When negative
information in your report is accurate, only the passage of time can assure its removal.
A consumer reporting company can report most accurate negative information for seven
years and bankruptcy information for 10 years. Information about an unpaid judgment
against you can be reported for seven years or until the statute of limitations runs out,
whichever is longer. There is no time limit on reporting information about criminal
convictions; information reported in response to your application for a job that pays
more than $75,000 a year; and information reported because you've"applied for more
than $150,000 wortA of credit or life insurance. There is a standard method for
calculating the seven-year reporting period. Generally, the period runs from the date
that the event took place.

If you are having problems paying your bills, contact your creditors immediately. Try to
work out a modified payment plan with them that reduces your payments to a more
manageable level. Don't wait until your account has been turned over to a debt
collector.
          Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 14 of 32




Here are some additional tips for solving credit problems:
           •   <0




    - If you want to dispute a credit report, bill or credit denial, write to the appropriate
      company and send your letter "return receipt requested."
     - When you dispute a billing error,oinclude your name, account number, the dollar
       amount in question, and the reason you believe the bill ts wrong.
     - If in doubt, request written verification of a debt.
     - Keep all your original documents, especially receipts, sales slips, and billing
       statements. You will need them if you dispute a credit bill or report. Send copies
       only. It may take more than one letter to correct a problem.
     - Be skeptical of businesses that offer instant solutions to credit problems: There
       aren't any.
     - Be persistent. Resolving credit problems can take time and patience.
     - There is nothing that a credit repair company can. charge you for that you cannot
       do for yourself for little or no cost.

If you're not disciplined enough to create aworkable budget and stick to it, work out a
repayrn~nt plan with your creditors, or keep track of mounting bills, consider contacting
a credit counseling organization. Many credit counseling organizations are nonprofit and
work with you to solve your financial problems. But not all are reputable. For example,
just because an organization says it's "nonprofit," there's no guarantee thaf its servioes
are free, affordable, or even legitimate. In fact, some credit counseling organizations
charge high fees, or hide their fees by pressuring consumers to make "voluntary"
contributions that only cause more debt.

Most credit counselors offer services through local offices, the Internet, or on the
telephone. If possible, find an organization that offers in-person counseling. Many
universities, military bases; credit unions, housing authorities, and branches of the U.S.
Cooperative Extension Service operate nonprofit credit counseling programs. Your
financial institution, local consumer protection agency, and friends and family also may
be good sources of information and referrals.

Reputable credit counseling organizations can advise you on managing your money
and debts, help you develop. a budget, and offer free educational materials and
workshops. Their counselors are certified and trained in the areas of consumer credit,
money and debt management, and budgeting. Counselors discuss your entire financial
situation with you, and help you develop a personalized plan to solve your money
problems. An initial counseling session typically lasts an hour, with an offer of follow-up
sessions.

For more information, see Knee Deep in Debt and Fiscal Fitness: Choosing a Credit
Counselor at ftc.gov/credit.
          Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 15 of 32




The FTC works for the consumer to prevent fraudulent, deceptive, and unfair business
practices in the marketplace and to provide information to help consumers spot, stop,
and avoid them. To file a complaint or to get free information on consumer issues, visit
ftc.gov or call toll-free, 1-877-FTC-HELP (1-877-382-4357); TTY: 1-866-653-4261. The
FTC enters consumer complaints into the Consumer Sentinel Network, a secure online
database and investigative tool used by hundreds of civil and criminal law enforcement
agencies in the U.S. and abroad.

                                                                            March 2005


                           Last Modified Friday. 24-Apr-2009 164700   EDT
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 16 of 32




                (A)    the agency has followed reasonable procedures to obtain confirmation of
                       the info~ation,from   an additional source that has independent and direct
                       knowledge of the information; or

                (B)    the person interviewed is the best po~sible source of the information.

~ 607. Compliance procedures           [15 U.S.C. ~ 1681e]

    (a) Identity and purposes of credit users. Every consumer reporting agency shall maintain
        reasonable procedures designed to avoid violations of section 605 [~ 1681c] and to limit
        the furnishing of consumer reports to the purposes listed under section 604 [~ 1681b] of
        this title. These procedures shall require that prospective users ofthe information iden-
        tify themselves, certify the purposes for which the information is sought, and certify that
        the information will be used for no other purpose. Every consumer reporting agency
        shall make a reasonable effort to verify the identity of a new prospective user and the
        uses certified by such prospective user prior to furnishing such user a consumer report.
        No consumer reporting agency may furnish a consumer report to any person if it has
        reasonable grounds for believing that the consumer report will not be used for a purPose
        listed in section 604 [~ 1681b] of this title.

    (b) Accuracy of report. Whenever a consumer reporting agency prepares a consumer
        report it shall follow reasonable procedures to assure maximum possible accuracy of
        the information concerning the individual about whom the report relates.

    (c) Disclosure of consumer reports by users allowed. A consumer reporting agency may
        not prohibit a user of a co.nsumer report furnished by the agency on a consumer from
        disclosing the contents of the report to the consumer, if adverse action against the
        consumer has been taken by the user based in whole or in part on the report.

    (d) Notice to Users and Furnishers of Information

         (1) Notice requirement. A consumer reporting agency shall provide to any person

                (A)    who regularly and in the ordinary course of business furnishes information
                       to the agency with respect to any consumer; or.

                (B)    to whom a consumer report is provided by the agency;

                a notice of such person's responsibilities under this title.

         (2) Content of notice. The Federal Trade.Commission shall prescribe the content of not i-
             ces under paragraph (l), and a consumer reporting agency shall be in compliance
             with this subsection if it provides a notice under paragraph (l) that is substantially
             similar to the Federal Trade Commission prescription under this paragraph.

    (e) Procurement of Consumer Report for Resale




July 30, 2004                                        33
,',              Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 17 of 32



               (1) Disclosure. A person may not procure a consumer report for purposes ofreselling
                   the report (or 'any information in the report) unless the person discloses to the
                   consumer reporting agency that originally furnishes the report

                       (A)          the identity of the end-user of the report (or information); and

                      (B)           each permissible purpose under section 604 [9 1681b] for which the report
                                    is furnished to the end-user ofthe report (or information).

               (2) Responsibilities' of procurers for resale. A person who procures a consumer
                   report for purposes of reselling the report (or any information in the report) shall

                      (A)            establish and comply with reasonable procedures designed to ensure that '
                                     the report (or information) is resold by the person only for a purpose for
                                     which the report may be furnished under section 604 [9 1681b], including
                                     by requiring that each person to which the report (or information) is resold
                                     and that resells or provides the report (or information) to any other person

                             (i)        identifies each end user of the resold report (or information);

                             (ii)       certifies each purpose for which the report (or information) will be
                                        used; and

                             (iii)      certifies that the report (or information) will be used for   110   other
                                        purpose; and

                       (B)           before reselling the report, make reasonable efforts to verifY the
                                     identifications and certifications made under subparagraph (A).

               (3) Resale of consumer report to afederal agency or department. Notwithstanding
                   paragraph (1) or (2), a person who procures a consumer report for purposes of
                   reselling the report (or any information in the report) shall not disclose the identity of
                   the end-user of the report under paragraph (1) or (2) if--

                      (A)            the end user is an agency or department of the United States Government
                                     which procures the report from the person for purposes of determining the
                                    ,eligibility of the consumer concerned to receive aC,cessor continued access to
                                     classified information (as defined in section 604(b)(4)(E)(i)); and

                      (B)            the agency or department certifies in writing to the person reselling the report
                                      that nondisclosure is necessary to protect classified information or the safety
                                     of persons employed by or contracting with, or undergoing investigation for
                                     work or contracting with the agency or department.

      ~ 608. Disclosures to governmental agencies [15 U.S.C. ~ 1681t]

              Notwithstanding the provisions of section 604 [~ 1681b] of this title, a consumer
      reporting agency may furnish identifYing information respecting any consumer, limited to

      July 3D, 2004                                               34
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 18 of 32



his name, address, former addresses, places of employment, or former places of
employment, to a gove~ental     agency.                .

~ 609. Disclosures to consumers [15 U.S.c. ~ 1681g]

    (a) Information onfile; sources,' report recipients. Every consumer reporting agency shall,
        upon request, and subject to 61O(a)(l) [~ 1681h], clearly and accurately disclose to
        the consumer:

         (1) All information in the consumer's file at the time of the request except that--

            (A)              if the consumer to whom the file relates requests that the first 5 digits of
                             the social security number (or similar identification number) of the
                             consumer not be included in the disclosur~ ~nd the consumer reporting
                             agency has received appropriate proof of the identity of the requester, the
                             consumer reporting agency shall so truncate such number in such
                             disclosure; and

                (B)          nothing in this paragraph shall be construed to require a consumer
                             reporting agency to disclose to a consumer any information concerning
                             credit scores or any other risk scores or predictors relating to the
                             consumer.

         (2) The sources of the information; except that the sources of information acquired
             solely for use in preparing an investigative conS1,lmerreport and actually use for
             no other purpose need not be disclosed: Provided, That in the event an action is
             brought under this title, such sources shall be available to the plaintiff under
             appropriate discovery procedures in the court in which the action is brought.

         (3)(A)              Identification of each person (including each end-user identified under
                             section 607( e)(1) [~ 1681e]) that procured a consumer report

                      (i)       for employment purposes, during the 2-year period preceding the date
                                on which the request is made; or

                      (ii)      for any other purpose, during the t -year period preceding the date on
                                which the request is made.

                (B)          An identific~tion of a person under subparagraph (A) shall include

                      (i)       the name of the person or, if applicable, the trade name (written in full)
                                under which such person condu~ts business; and

                      (ii)      upon request of the consumer, the address and telephone number of the
                                person.

                (C)          Subparagraph (A) does not apply if--

                      (i)       the end user is an agency or department of the United States
                                Government that procures the report from the person for purposes of
July 30, 2004                                            35
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 19 of 32


                                determining the eligibility of the consumer to whom the report relates
                                to receive access or continued access to classified information (as
                                defined in section 604(b)(4)(E)(i)); and

                      (ii)      the head of the agency or department makes a written finding as
                                prescribed under section 604(b)(4)(A).

         (4) The dates, original payees, and amounts of any checks upon which is based any
             adverse characterization of the consumer, included in the file at the time of the
             disclosure.

         (5) A record of all inquiries received by the agency during the I-year period
             preceding the request that identified the consumer in connection with a credit or
             insurance transaction that was not initiated by the consumer.

         (6) If the consumer requests the credit file and not the credit score, a statement that the
             consumer may request and obtain a credit score.

    (b) Exempt information. The requirements of subsection (a) of this section respecting the
        disclosure of sources of information and the recipients of consumer reports do not
        apply to information received or consumer reports furnished prior to the effective
        date of this title except to the extent that the matter involved is contained in the files
        of the consumer reporting agency on that date.

    (c) Summary of Rights to Obtain and Dispute Information in Consumer Reports and to
        Obtain Credit Scores

         (1) Commission Summary of Rights Required

                (A)          In general. The Commission shall prepare a model summary of the rights
                             of consumers under this title.

                (B)           Content of summary. The summary of rights prepared under subparagraph
                              (A) shall include a description of-

                      (i)        the right of a consumer to obtain a copy of a consumer report under
                                 subsection (a) from each consumer reporting agency;

                      (ii)       the frequency and circumstances under which a consumer is entitled to
                                 receive a consumer report without charge under section 612;

                      (iii)      the right of a consumer to dispute information in the file of the
                                 consumer under section 611 ;

                      (iv)       the right of a consumer to obtain a credit score from a consumer
                                 reporting agency, and a description of how to obtain a credit score;

                      (v)        the method by which a consumer can contact, and obtain a consumer
                                 report from, a consumer reporting agency without charge, as provided
                                 in the regulations of the Commission prescribed under section 211 (c)
                                 of the Fair and Accurate Credit Transactions Act of2003; and

July 30, 2004                                            36
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 20 of 32



                      (vi)       the method by which a consumer can contact, and obtain a consumer
                                 reJW;rtfrom, a consumer reporting agency described in section 603(w),
                                 as provided in the regulations of the Commission prescribed under
                                 section 612(a)(l )(C).

                (C)          Availability of summary of rights. The Commission shall--

                      (i)        actively publicize the availability of the summary of rights prepared
                                 under this paragraph;

                      (ii)       conspicuously post on its Internet website the availability of such
                                 summary of rights; and        ~

                      (iii)      promptly make such summary ofrightsa"ailable       to consumers, on request.

    (2) Summary of rights required to be included with agency disclosures. A consumer
         reporting agency shall provide to a consumer, with each written disclosure by the
         agency to the consumer under this section-.,

                (A)           the summary of rights prepared by the Commission under paragraph (1);

                (B)           in the case of a consumer reporting agency described in section 603(p), a
                              toll-free telephone number established by the agency, at which personnel
                              are accessible to consumers during normal business hours;

                (C)           a list of all Federal agencies responsible for enforcing any provision of this
                              title, and the address and any appropriate phone number of each such agency,
                              in a form that will assist the consumer in selecting the appropriate agency;

                (D)           a statement that the consumer may have additional rights under State law,
                              and that the consumer may wish to contact a State or local consumer
                              protection agency or a State attorney general (or the equivalent thereof) to
                              learn of those rights; and

                (E)           a statement that a consumer reporting agency is not required to remove
                              accurate derogatory information from the file of a consumer, unless the
                              information is outdated under section 605 or cannot be verifi:ed.

    (d) Summary of Rights of Identity Theft Victims

         (1) In general.     The Commission, in consultation with the Federal banking agencies and
                the National Credit Union Administration, ~hall prepare a model summary of the
                rights of consumers under this title with respect to the procedures for remedying the
                effects of fraud or identity theft involving credit, an electronic fund transfer, or an
                account or transaction at or with a financial institution or other creditor.

         (2) Summary of rights and contact information.     Beginning 60 days after the date on
                which the model summary of rights is prescribed in final form by the Commission
                pursuant to paragraph (1), if any consumer contacts a consumer reporting agency
                and expresses a belief that the consumer is a victim of fraud or identity theft

July 3D, 2004                                             37
          Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 21 of 32

                involving credit, an electronic fund transfer, or an account or transaction at or
                with a financial institution or other creditor, the consumer reporting agency shall,
                in addition tQa'\!J1Y
                                    other action that the agency may take, provide the consumer                 ~...::   (




                with a summary of rights that contains all of the information required by the
                Commission under paragraph (l), and information on how to contact the
                Commission to obtain more detailed information.

    (e) Information Available to Victims

         (l) In general. For the purpose of documenting fraudulent transactions resulting from
             identity theft, not later than 30 days after the date of receipt of a request from a
             victim in accordance with paragraph (3), and subject to verification of the identity of
             the victim and the claim of identity theft in accordance with paragraph (2), a busi-
             ness entity that has provided credit to, provided for consideration products, goods, or
             services to, accepted payment from, or otherwise ~J:lteredinto a commercial
             transaction for consideration with, a person who has allegedly made unauthorized
             use of the means of identification of the victim, shall provide a copy of application
             and business transaction records in the control of the business entity, whether
             maintained by the business entity or by another person on behalf of the business
             entity, evidencing any transaction alleged to be a result of identity theft to--

                (A)          the victim;

                (B)          any Federal, State, or local government law enforcement agency or officer
                             specified by the victim in such a request; or

                (C)           any law enforcement agency investigating the identity theft and authorized
                              by the victim to take receipt of records provided under this subsection.

         (2) Verification of identity and claim. Before a business entity provides any informa-
                tion under paragraph (l), unless the business entity, at its discretion, otherwise
                has a high degree of confidence that it,knows the identity of the victim making a
                request under paragraph (l), the victim
                                     -             .     shall provide to the business entity--

                (A)           as proof of positive identification of the victiJ!l, at the election of the
                              business entity-

                      (i)        the presentation of a government-issued identification card;

                      (ii)       personally identifying information ofthe same type as was provided to
                                 the business entity by the unauthorized person; or

                      (iii)      personally identifying information that the business entity typically
                                 requests from new applicants or for new transactions, at the time of the
                                 victim's request for information, including any documentation
                                 described -in clauses (i) and (ii); and

                (B)           as proof of a claim of identity theft, at the election of the business entity--

                      (i)        a copy of a police report evidencing the claim of the victim of identity
                                 theft; and

July 30. 2004                                               38
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 22 of 32




                      (ii)          a iiPperly completed--

                             (I)       copy of a standardized affidavit of identity theft developed and
                                       made available by the Commission; or

                             (II)      an affidavit of fact that is acceptable to the business entity for that
                                       purpose.

         (3) Procedures. The request ofa victim under paragraph (1) shall--

                (A)          be in writing;

                (B)          be mailed to an address specified by the business entity, ifany; and

                (C)          if asked by the business entity, include relevant information about any
                             transaction alleged to be a result of identity theft to facilitate compliance
                             with this section including-

                      (i)           if known by the victim (or ifreadily obtainable by the victim), the date
                                    of the application or tran~action; and

                      (ii)          if known by the victim (or if readily oolainable by the victim), any
                                    other identifying information such as an account or trans&ction
                                    number.                                        •

         (4) No charge to victim. Information required to be provided under paragraph (1)
             shall be so provided without charge.

         (5) Authority to decline to provide information. A business entity may decline to
             provide information under paragraph (1) if, in the exercise of good faith, the
             business entity determines that--

                (A)          this subsection does not require disclosure of the information;

                (B)          after reviewing the information provided pursuant to paragraph (2), the
                             business entity does not have a high degree of confidence in knowing the
                             true identity of the individual requesting the information;

                (C)          the request for the information is based on a misrepresentation of fact by
                             the individual requesting the information relevant to the request for
                             information; or

                (D)           the information requested is Internet navigational data or similar
                              information about a person's visit to a website or online service.

         (6) Limitation on liability. Except as provided in section 621, sections 616 and 617 d.o
             not apply to any violation of this subsection.



July 30, 2004                                                39
~.
                Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 23 of 32




              (7) Limitation on civil liability. No business entity may be held civilly liable under
                  any provision of Federal, State, or other law for disclosure, made in good faith
                  pursuant to this subsection.                      .

              (8) No new recordkeeping obligation. Nothing in this subsection creates an obligation
                  on the part of a business entity to obtain, retain, or maintain information or
                  records that are not otherwise required to be obtained, retained, or maintained in
                  the ordinary course of its business or under other applicable law.

              (9) Rule of Construction

                     (A)   In general. No provision of subtitle A oftide V of Public Law 106-102,
                           prohibiting the disclosure of financial information by a business entity to.
                           third parties shall be used to deny disclosure of information to the victim
                           under this subsection.

                     (B)   Limitation. Except as provided in subparagraph (A), nothing in this
                           subsection permits a business entity to disclose information, including
                           information to law enforcement under subparagraphs (B) and (C) of
                           paragraph (1), that the business entity is otherwise prohibited from
                           disclosing under any other applicable provision of Federal or State law.

            (10) Affirmative defense. In any civil action brought to enforce this subsection, it is an
                 affirmative defense (which the defendant must establish by a preponderance of
                 the evidence) for a business entity to file an affidavit or answer stating th~t--

                     (A)   the business entity has made a reasonably diligent search of its available
                           business records; and

                     (B)   the records requested under this subsection do not exist or are not
                           reasonably available.

            (11) Definition of victim. For purposes of this subsection, the term "victim" means a
                 consumer whose means of identification or financial information has been used or
                 transferred (or has been alleged to have been used or transferred) without the
                 authority of that consumer, with the intent to commit, or to aid or abet, an identity
                 theft or a similar crime.

            (12) Effective date. This subsection shall become effective 180 days after the date of
                 enactment of this subsection.

            (13) Effectiveness study. Not later than 18 months after the date of enactment of this
                 subsection, the Comptroller General of the United States shall submit a report to
                 Congress assessing the effectiveness of this provision.

         (f) Disclosure of Credit Scores

              (1) In general. Upon the request of a consumer for a credit score, a consumer
                  reporting agency shall supply to the consumer a statement indicating that the
     July 30, 2004                                    _   40
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 24 of 32



        (7) Compliance. A person shall not be liable for failure to perform the duties required
            by this sectio,a.,if, at the time of the failure; the person maintained reasonable
            policies and procedures to comply with this section.

        (8) Enforcement

                (A)   No civil actions. Sections 616 and 617 shall not apply to any failure by any
                      person to comply with this section.

                (B)   Administrative enforcement. This section shall be enforced exclusively under
                      section 621 by the Federal agencies and officials identified in that section.

~ 616. Civil liability for willful noncompliance [15 U.S.C. ~ 1681n]

    (a) In general. Any person who willfully fails to comply with any requirement imposed
        under this title with respect to any consumer is liable to that consumer in an amount
        equal to the sum of

         (1) (A)      any actual damages sustained by the consumer as a result of the failure or
                      damages of not less than $100 and not more than $1,000; or

                (B)   in the case of liability of a natural person for obtaining a consumer report
                      under false pretenses or knowingly withoUt a permissible purpose, actual
                      damages sustained by the consumer as a result of the failure or $1,000,
                      whichever is greater;

         (2) such amount of punitive damages as the court may allow; and
                                                   "


         (3) in the case of any successful action to enforce any liability under this section, the
             costs of the action together with reasonable attorney's fees as determined by the
             court.

    (b) Civil liability for knowing noncompliance. Any person who obtains a consumer report
        from a consumer reporting agency under false pretenses or knowingly without a
        permissible purpose shall be liable to the consumer reporting agency for actual
        damages sustained by the consumer reporting agency or $1,000, whichever is greater.

    (c) Attorney'sfees. Upon a finding by the court that an unsuccessful pleading, motion, or
        other paper filed in connection with an action under this section was filed in bad faith
        or for purposes of harassment, the court shall award to the prevailing party attorney's
        fees reasonable in relation to the work expended in responding to the pleading,
        motion, or other paper.

~ 617. Civil liability for negligent noncompliance [15 U.S.C.       S   16810]

    (a) In general. Any person who is negligent in failing to comply with any requirement
        imposed under this title with respect to any consumer is liable to that consumer in an
        amount equal to the sum of



July 30, 2004                                     62                                                  i
                                                                                                      i
                                                                                                      I
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 25 of 32



        (1) any actual damages sustained by the consumer as a result of the failure; and

        (2) in the case of any successful action to enforce any liability under this section, the
            costs of the action together with reasonable attorney's fees as determined by the
            court.

   (b) Attorney'sfees. On a finding by the court that an unsuccessful pleading, motion, or
       other paper filed in connection with an action under this section was filed in bad faith
       or for purposes of harassment, the court shall award to the prevailing party attorney's
       fees reasonable in relation to the work expended in responding-to the pleading,
       motion, or other paper.

~ 618. Jurisdiction of courts; limitation of actions [15 U .S.C.   g   1681p]

        An action to enforce any liability created under this title may be brought in any
appropriate United States district court, without regard to the amount in controversy, or in
any other court of competent jurisdiction, not later than the earlier of (1) 2 years after the
date of discovery by the plaintiff of the violation that is the basis for such liability; or (2) 5
years after the date on which the violation that is the basis for such liability occurs.

~ 619. Obtaining information under false pretenses [15 U.S.C.          g   1681q]

       Any person who knowingly and willfully obtains information on a consumer from a
consumer reporting agency under false pretenses shall be fined under title 18, United States
Code, imprisoned for not more than 2 years, or both.

~ 620. Unauthorized disclosures by officers or employees [15 U.S.C. g 1681r]

    Any officer or employee of a consumer reporting agency who knowingly and willfully
provides information concerning an individual from the agency's files to a person not
authorized to receive that information shall be fined under title 18, United States Code,
imprisoned for not more than 2 years, or both.

~ 621. Administrative enforcement [15 U.S.C. g 1681s]

    (a) (1) Enforcement by Federal Trade Commission. Compliance with the requirements
            imposed under this title shall be enforced under the Federal Trade Commission
            Act [15 U.S.C. gg 41 et seq.] by the Federal Trade Commission with respect to
            consumer reporting agencies and all other persons subject thereto, except to the
            extent that enforcement of the requirements imposed under this title is specifically
            committed to some other government agency under subsection (b) hereof. For the
            purpose of the exercis€Eby the Federal Trade Commission of its functions and
            powers under the Federal Trade Commission Act, a violation of any requirement
            or prohibition imposed under this title shall constitute an unfair or deceptive act
            or practice in commerce in violation of section 5(a) of the Federal Trade
            Commission Act [15 U.S.C. 9 45(a)] and shall be subject to enforcement by the
            Federal Trade Commission under section 5(b) thereof [15 U.S.C. 9 45(b)] with
            respect to any consumer reporting agency or person subject to enforcement by the
            Federal Trade Commission pursuant to this subsection, irrespective of whether


July 30, 2004                                    63
          Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 26 of 32



            that person is engaged in commerce or meets any other jurisdictional tests in the
            Federal Trad~Commission Act. The Federal Trade Commission shall have such
            procedural, investigative, and enforcement powers, including the power to issue
            procedural rules in enforcing compliance with the requirements imposed under
            this title and to require the filing of reports, the production of documents, and the
            appearance of witnesses as though the applicable terms and conditions of the
            Federal Trade Commission Act were part of this title. Any person violating any of
            the provisions of this title shall be subject to the penalties and entitled to the
            privileges and immunities provided in the Federal Trade Commission Act as
            though the applicable terms and provisions thereof were part of this title.

        (2) (A)    In the event of a knowing violatton, which constitutes a pattern or practice
                   of violations of this title, the Commission may commence a civil action to
                   recover a civil penalty in a district court of the United States against any
                   person that violates this title. In such action: such person shall be liable for
                   a civil penalty of not more than $2,500 per violation.

             (B)   In determining the amount of a civil penalty under subparagraph (A), the
                   court shall take into account the degree of culpability, any history of prior
                   such conduct, ability to pay, effect on ability to continue to do business,
                   and such other matters as justice may require.

        (3) Notwithstanding paragraph (2), a court may not impose any civil penalty on a
            person for a violation of section 623 (a)(1 ) [g 1681s-2] unless the person has been
            enjoined from committing the violation, or ordered noHo commit the-violation, in
            an action or proceeding brought by or on behalf'ofthe Federal Trade Commis-
            sion, and has violated the injunction or order, and the court may not impose any
            civil penalty for any violation occurring before the date of the violation of the
            injunction or order.

   (b) Enforcement by other agencies. Compliance with the requirements imposed under this
       title with respect to consumer reporting agencies, persons who use consumer reports
       from such agencies, persons who furnish information to such agencies, and users of
       information that are subject to subsection (d) of section 615 [g 1681m] shall be
       enforced under

        (1) section 8 of the Federal Deposit Insurance Act [12 U.S.C.     g   1818], in the case of

             (A)   national banks, and Federal branches and Federal agencies offoreign
                   banks, by the Office of the Comptroller of the Currency;

             (B)   member banks of the Federal Reserve System (other than national banks),
                   branches and agencies of foreign banks (other than Federal branches,
                   Federal agencies, and insured State branches of foreign banks),
                   commercial lending companies owned or controlled by foreign banks, and
                   organizations operating under section 25 or 25A of the Federal Reserve
                   Act [12 U.S.C. gS 601 et seq., gg 611 et seq], by the Board of Governors
                   of the Federal Reserve System; and



July 30, 200464
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 27 of 32


                (C)          banks insured by the Federal Deposit Insurance Corporation (other than mem-
                             bers of the Federal Reserve System) and insured State branches of foreign
                             banks,-by the Board of Directors of the Federal Deposit Insurance Corporation;

         (2) section 8 of the Federal Deposit Insurance Act (12 U.S.C. ~ 1818], by the
             Director of the Office of Thrift Supervision, in the case of a savings association
             the deposits of which are insured by the Federal Deposit Insurance Corporation;

         (3) the Federal Credit Union Act [12 U.S.C. ~~ 1751 et seq.], by the Administrator of
             the National Credit Union Administration (National Credit Union Administration
             Board] with respect to any Federal credit union;

         (4) subtitle IV oftitle 49 [49 U.S.C. ~~ 10101 et seq.], by the Secretary of
             Transportation, with respect to all carriers subject to the jurisdiction of the Surface
             Transportation Board;

        .(5) the Federal Aviation Act of 1958 [49 U.S.C. Appx ~~ 1301 et seq.], by the
             Secretary of Transportation with respect to any air carrier or foreign air carrier
             subject to thatAct [49 U.S.C. Appx S~ 1301 et seq.]; and

         (6) the Packers and Stockyards Act, 1921 [7 U.S.C. ~S 181 et seq.] (except as
             provided in section 406 of that Act [7 U.S.C. ~S 226 and 227]), by the Secretary
             of Agriculture with respect to any activities subject to that Act.

The terms used in paragraph (1) that are not defined in this title or otherwise defined in sec-
tion 3(s)nfthe Federal Deposit Insurance Act (12 U.S.C. SI813(s)) shall have the meaning
given to them in section 1(b) of the International Banking Act of 1978 (12 U.S.C. S-3101).

    (c) State Action for Violations

         (1) Authority of states. In addition to such other remedies as are provided under State
             law, if the chieflaw enforcement officer of a State, or an official or agency
             designated by a State, has reason to believe that any person has violated or is
             violating this title, the State

                (A)          may bring an action to enjoin such violation in any appropriate United
                             States district court or in any other court of competent jurisdiction;

                (B)          subject to paragraph (5), may bring an action on behalf of the residents of
                             the State to recover

                      (i)       damages for which the person is liable to such residents under sections
                                616 and 617 [S~ 1681nand 16810] as a result of the violation;

                      (ii)      in the case of a violation described in any of paragraphs (l) through (3) of
                                section 623( c), damages for which the person would, but for section
                                623( c) [S 1681s-2], be liable to such residents as a result of the violation;
                                or

                      (iii)     damages of not more than $1,000 for each willful or negligent violation; and

July 30, 2004                                              65
           Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 28 of 32


                (C)          in the case of any successful action under subparagraph (A) or (B),shall
                             be awarded the costs of the action and reasonable attorney fees as
                             determined by the court.
                                   ~
         (2) Rights offederal regulators. The State shall serve prior written notice of any
             action under paragraph (l) upon the Federal Trade Commission or the appropriate
             Federal regulator determined under subsection (b) and provide the Commission or
             appropriate Federal regulator with a copy of its co~plaint, except in any case in
             which such prior notice is not feasible, in which case the State shall serve such
             notice immediately upon instituting such action. The Federal Trade Commission
             or appropriate Federal regulator shall have the right

                (A)          to intervene in the action;

                (B)          upon so intervening, to be heard on all matters arising therein;

                (C)          to remove the action to the appropriate United States district court; and

                (D)          to file petitions for appeal.

         (3) Inve~tigatory powers. For purposes of bringing any action under this subsection,
             nothing in this subsection shall prevent the chief law enforcement officer, or an
             official or agency designated by a State, from exercising the powers conferred on
             the chieflaw enforcement officer or such official i'>ythe laws of such State to
             conduct investigations or to administer oaths or affirmations or to compel the
             attendance of witnesses or the production of documental)' and other -evidence.

         (4) Limitation on state action while federal action pending. If the Federal Trade.
             Commission or the appropriate Federal regulator has instituted a civil action or an
             administrative action under section 8 of the Federal Deposit Insurance Act for a
             violation of this title, no State may, during the pendency of such action, bring an
             action under this section against any defendant named in the complaint of the
             Commission or the appropriate Federal regulator for any violation of this title that
             is alleged in that complaint.

         (5) Limitations on State Actions for Certain Violations

            (A)              Violation of inJunction required. A State may not bring an action against a
                             person under paragraph (l )(B) for a violation described in any of
                             paragraphs (1) through (3) of section 623( c), unless

                      (i)        the person has been enjoined from committing the violation, in an
                                 action brought by the State under paragraph (l )(A); and

                      (ii)       the person has violated the injunction.

                (B)          Limitation on damages recoverable. In an action against a person under
                             paragraph (1)(B) for a violation described in any of paragraphs (l) through
                             (3) of section 623(c), a State may not recover any damages incurred before
                             the date of the violation of an injunction on which the action is based.


July 30, 2004                                                66
          Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 29 of 32




    (d) Enforcement under other authority. For the purpose of the exercise by any agency
        referred to in subsection (b) of this section of its powers under any Act referred to in
        that subsection, a violation of any requirement imposed under 'this title shall be
        deemed to be a violation of a requirement imposed under that Act. In addition to its
        powers under any provision oflaw specifically referred to in subsection (b) of this
        section, each of the agencies referred to in that subsection may exercise, for the
        purpose of enforcing compliance with any requirement imposed under this title any
        other authority conferred on it by law.

    (e) Regulatory authority

         (1) The Federal banking agencies referred to in paragraphs (I) and (2) of subsection
             (b) shall jointly prescribe such regulations as necessary to carry out the purposes'
             of this Act with respect to any persons identified under paragraphs (I) and (2) of
             subsection (b), and the Board of Govemors of the Federal Reserve System shall
             have authority to prescribe regulations consistent with such joint regulations with
             respect to bank holding companies and affiliates (other than depository
             institutions and consumer reporting agencies) of such holding companies.

         (2) The Board of the National Credit Union Administration shall prescribe such
             regulations as necessary to carry out the purposes of this Act with respect to any
             persons identified under paragraph (3) of subsection (b).

    (f) Coordination of Consumer Complaint Investigations

         (I) In general. Each consumer reporting agency described in section 603(p) shall
             develop and maintain procedures for the referral to each other such agency of any
             consumer complaint received by the agency alleging identity theft, or requesting a
             fraud alert under section 605A or a block under section 6058.

         (2) Model form and procedure for reporting identity theft. The Commission, in'
                consultation with the Federal banking agencies and the National Credit Union
                Administration, shall develop a model form and model procedures to be used by
                consumers who are victims of identity theft for contacting and informing creditors
                arid consumer reporting agencies of the fraud.

         (3) Annual summary reports. Each consumer reporting agency described in section
                603(p) shall submit an annual summary report to the Commission on consumer
                complaints received by the agency on identity theft or fraud alerts.

    (g) FTC regulation of coding of trade names. If the Commission determines that a person
        described in paragraph (9) of section 623(a) has not met the requirements of such
        paragraph, the Commission shall take action to ensure the person's compliance with
        such paragraph, which may include issuing model guidance or prescribing reasonable
        policies and procedures, as necessary to ensure that such person complies with such
        paragraph.

~ 622. Information on overdue child support obligations [15 U.S.C. ~ 1681s-I]

July 30, 2004                                     67
•         .h        ",
!   .p"        -~              Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 30 of 32




                    Notwithstanding any other provision of this title, a consumer reporting agency shall
                include in any consume"eport furnished by the agency in accordance with section 604
                [~ 1681b] of this title, any information on the fai Iure of the consumer to pay overdue support
                which
                       (I) is provided

                                (A)             to the consumer reporting agency by a State or local child support enforce-
                                                ment agency; or

                                    (B)         to the consumer reporting agency and verified by any local, State, or
                                                Federal.government agency; and>

                             (2) antedates the report.by 7 years or less.

                    ~ 623. Responsibilities of furnishers of information to consumer reporting agencies
                    [15 U.S.C. ~ 1681s-2]

                         (a) Duty of Furnishers of Information to Provide Accurate Information

                             (1) Prohibition

                                    (A)         Reporting information with actual knowledgg of~rrors. A person shall not
                                                furnish any information relating to a consumer to any consumer reporting
                                                agency if the person knows or has reasonable cause to believe that the
                                                information is inaccurate.

                                    (B)         Reporting information after notice and confirmation of errors. A person
                                                shall not furnish information relating to a consumer to any consumer
                                                reporting agency if

                                          (i)      the person has been notified by the consumer, at the address specified by
                                                   the person for such notices, that specific information is inaccurate; and

                                          (ii) , the information is, in fact, inaccurate.

                                    (C)         No address requirement. A person who clearly and conspicuously specifies
                                                to the consumer an address for notices referred to in subparagraph (B)
                                                shall not be subject to subparagraph (A); however, nothing in subpara-
                                                graph (B) shall require a person to specify such an address.

                                    (0)         Definition. For purposes of subparagraph (A), the term "reasonable cause to
                                                believe that the information is inaccurate" means having specific knowledge,
                                                other than solely allegations by the consumer, that would cause a reasonable
                                                person to have substantial doubts about the accuracy of the information.

                             (2) Duty to correct and update information. A person who


                    July 30, 2004                                           68
    ".~           :.~           !~


t         .,.
           .•
            - ....
          ••••.         "'lII

                                            Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 31 of 32




                                                  (A)          reguhuly and in the ordinary course of business furnishes information to
                                                               one or more consumer reporting agencies about the person's transactions
                                                               or experiences with any consumer; and

                                                  (8)          has furnished to a consumer reporting agency information that the person
                                                               determines is not complete or accurate, shall promptly notify the consumer
                                                               reporting agency of that determination and provide to the agency'any
                                                               corrections to that information, or any additional information, that is
                                                               necessary to make the information provided by the person to the agency
                                                               complete and accurate, and shall not thereafter furnish to the agency any
                                                               of the information that remains not complete or accurate.

                                          (3) Duty to provide notice of dispute. If the completeness or accuracy of any informa-
                                              tion furnished by any person to any consumer reporting agency is disputed to such
                                              person by a consumer, the person may not furnish the information to any consumer
                                              reporting agency without notice that such information is disputed by the consumer.

                                          (4) Duty to provide notice of closed accounts. A person who regularly and in the
                                              ordinary course of business furnishes information to a consumer reporting agency
                                              regarding a consumer who has a credit account with that person shall notify the
                                              agency of the voluntary closure of the account by the consumer, in information
                                              regularly furnished for the period in which the account is closed.

                                           (5) Duty to Provide Notice of Delinquency of Accounts

                                                  (A)          In general. A person whoJurnishes information to a consumer reporting
                                                               agency regarding a delinquent account being placed for collection, charged
                                                               to profit or loss, or subjected to any similar action shall, not later than 90
                                                               days after furnishing the information, notify the agency of the date of
                                                               delinquency on the account, which shall be the month and year of the
                                                               commencement of the delinquency on the account that immediately
                                                               preceded the action.

                                                  (8)          Rule of construction. For purposes of this paragraph only, and provided
                                                               that the consumer does not dispute the information, a person that furnishes
                                                               information on a delinquent account that is placed for collection, charged
                                                               for profit or loss, or subjected to any similar action, complies with this
                                                                            .       )

                                                               paragraph,lf-.

                                                        (i)       the person reports the same date of delinquency as that provided by the
                                                                  creditor to which the account was owed at the time at which the
                                                                  commencement of the delinquency occurred, if the creditor previously
                                                                  reported that date of delinquency to a consumer reporting agency;

                                                        (ii)      the creditor did not previously report the date of delinquency to a
                                                                  consumer reporting agency, and the person establishes and follows
                                                                  reasonable procedures to obtain the date of delinquency from the
                                                                  creditor or another reliable source and reports that date to a consumer
                                                                  reporting agency as the date of delinquency; or

                                 J!lly 30, 2004                                            69
             '';.

, ',~
$~   )'I't

             .~               Case 1:09-cv-01734-CCB Document 1 Filed 06/26/09 Page 32 of 32




                                      (iii)         the creditor did not previously report the date of delinquency to a
                                                    co1f!,umerreporting agency and the date of delinquency cannot be
                                                    reasonably obtained as pr6~ide<1in~c1ause(ii), th~:person establishes
                                                    and follows reasonable procedures to ensure the date reported a~ the
                                                    date of delinquency precedes t~e date on which the account is placed
                                                    for collection, charged to profitorloss, or subjected to any similar
                                                    action, and reports such date. to the credit reporting agency.

                             (6) Duties of Furnishers Upon Notice ofldentity Theft-Related Information

                                    (A)          Reasonable procedures. A persOfl that furnishes information to any
                                                 consumer reporting agency shall have in place reasonable procedures to
                                                 respond to any notification that it receives from a consumer reporting
                                                 agency under section 605B relating to information resulting from identity
                                                 theft, to prevent that person from refurnishing such blocked information.

                                    (B)         . Information alleged to resultfrom identity theft. Ifa consumer submits an
                                                  identity theft report to a person who furnishes information to a consumer
                                                  reporting agency at the address specified by that person for receiving such
                                                  reports stating that information maintained by such person that purports to
                                                  relate to the consumer resulted from identity theft, the person may not
                                                  furnish such information that purports to r~late to the consumer to any
                                                  consumer reporting agency, unless the person subsequently knows or is
                                                  informed by the consumer that the information is.correct.      -.

                             (7) Negative Information

                                    (A)          Notice to Consumer Required

                                          (i)       In general. If any financial institution that extends credit and regularly
                                                    and in the ordinary course of business furnishes informafion to a con-
                                                    sumer reporting agency described in section 603(p) furnishes negative
                                                    information to such an agency regarding credit extended to a customer,
                                                    the financial institution shall provide a notice of such furnishing of
                                                    negative information, in writing, to the customer.

                                          (ii)      Notice effective for subsequent submissions, After providing such notice,
                                                    the financial institution may submit additional negative information to
                                                    a consumer reporting agency described in section 603(p) with respect
                                                    to the same transaction, extension of credit, account, or customer
                                                    without providing additional notice to the customer.

                                    (B)          Time of Notice

                                          (i)       In general. The notice required under subparagraph (A) shall be
                                                     provided to the customer prior to, or no later than 30 days after,
                                                     furnishing the negative information to a consumer reporting agency
                                                     described in section 603(p).


                    July 30, 2004                                            70


                                                                                                                                 I
